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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   SAMANTHA S. SPANGLER
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2792
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       Case No. 2:08-cr-00090
                                       )
12                   Plaintiff,        )       APPLICATION AND ORDER FOR
                                       )       DESTRUCTION OF SEIZED EVIDENCE
13   v.                                )
                                       )
14   LUCIANO PORCAYO,                  )
                                       )
15                   Defendant.        )
                                       )
16
17                                   Application
18         Comes now Assistant United States Attorney Samantha S.
19   Spangler, the prosecutor who reviewed the search warrant in the
20   above-captioned case, to apply for an order authorizing Internal
21   Revenue Service Criminal Investigations Special Agent JASON LAMB to
22   arrange within his agency for the destruction of a Ruger Model P89
23   semi-automatic, 9 mm handgun, Serial Number 307-18971, that was
24   seized on or about July 11, 2008, during the execution of a Federal
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 1   Search Warrant at 1831 North Beale Road, Marysville, California.
 2   This application is based upon the declaration of Samantha S.
 3   Spangler.
 4   DATED:     September 13, 2010               BENJAMIN B. WAGNER
                                                 United States Attorney
 5
 6                                     By:        /s/ Samantha S. Spangler
                                                 Samantha S. Spangler
 7                                               Assistant U.S. Attorney
 8                      Declaration of Samantha S. Spangler
 9         I, Samantha S. Spangler, Assistant United States Attorney,
10   declare as follows:
11         1.   I am the prosecutor who approved as to form the search
12   warrant for 1831 North Beale Road, Marysville, California, which was
13   executed on or about July 11, 2008.
14         2.   Special Agent Jason Lamb, IRS-CI, has informed me that a
15   Ruger semi-automatic 9 mm handgun, Model P89, Serial number 307-
16   18971, was seized from that location, the business formerly owned by
17   Luciano Porcayo.
18         3.   Mr. Porcayo claimed that the handgun belonged to his friend
19   who was currently in Mexico, whom he refused to name.
20         4.   The handgun was taken into custody for safe-keeping and a
21   search was conducted of its purchase history, through the eTrace
22   system utilized by the Bureau of Alcohol, Tobacco, and Firearms.
23   The record search revealed that the original purchaser of the
24   handgun was T.R. McDonald, who purchased it from a firearms dealer.
25   Special Agent Lamb phoned Mr. McDonald on or about September 8,
26   2011, in an attempt to determine his existing interest in the
27   handgun.
28   ///

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 1         5.   Mr. McDonald confirmed that he had purchased the handgun in
 2   question from a firearms dealer in Phoenix, Arizona, on January 26,
 3   1994, during a time frame when Mr. McDonald purchased several
 4   handguns, all of which he sold by the late 1990s.         Mr. McDonald
 5   could not recall whether he sold this particular handgun through a
 6   dealership or a private party.      Mr. McDonald informed Special Agent
 7   Lamb that he has no ownership interest in the firearm currently.
 8         6.   On September 23, 2008, IRS-CI’s then-forfeiture agent,
 9   Special Agent Charles Phillips, who held the position now held by
10   Special Agent Lamb, wrote a letter to Lindsay Weston, attorney for
11   Mr. Porcayo.    The letter requested that Ms. Weston have her client
12   contact the friend who owned the handgun who was in Mexico and have
13   that person contact Special Agent Phillips with proof of ownership
14   and proof that the person is not restricted from possessing a
15   firearm.    No call was ever received by Special Agent Phillips or by
16   Special Agent Lamb, his successor, either from Ms. Weston, Mr.
17   Porcayo, or Mr. Porcayo’s friend who was in Mexico.
18         7.   Because the handgun cannot be possessed by Mr. Porcayo, who
19   has now been convicted of a felony, and therefore it constitutes
20   contraband as to him, and because no person has come forward to
21   claim rightful ownership of the handgun, I am seeking an order from
22   the Court authorizing SA Lamb to follow his agency procedures and
23   arrange for the destruction of the handgun.
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 1        8.   The government does not intend to file any charges related
 2   to the handgun.
 3        I declare under penalty of perjury that the foregoing is true
 4   and correct to the best of my knowledge and belief, and I sign this
 5   declaration on the 13th of September, 2011, at Sacramento,
 6   California.
 7                                             /s/ Samantha S. Spangler
                                              Samantha S. Spangler
 8                                            Assistant U.S. Attorney
 9                                     ORDER
10        The government’s request is HEREBY GRANTED.        Special Agent
11   Jason Lamb is authorized to follow his agency procedures and arrange
12   for the destruction of the Ruger handgun, Model P89, Serial number
13   307-18971, that was seized from 1831 North Beale Road, Marysville,
14   on or about July 11, 2008.
15   Dated:    September 13, 2011              /s/ Edward J. Garcia
                                              EDWARD J. GARCIA, Judge
16                                            United States District Court
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